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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
                                          MDL Case No. 2738
   AND PRODUCTS LIABILITY
   LITIGATION



             DEFENDANTS JOHNSON & JOHNSON’S AND
        LLT MANAGEMENT LLC’S POST-HEARING REPLY BRIEF
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                                  INTRODUCTION

        The facts requiring disqualification of Beasley Allen are undisputed. James

  Conlan was J&J’s lawyer on the talc litigation. In that role, he was exposed to J&J’s

  most sensitive confidences: among them, how it valued plaintiffs’ claims in the

  aggregate and individually, how it estimated and valued future claims, and its

  resolution strategies. Although Beasley Allen knew that Conlan was J&J’s former

  lawyer, it collaborated with him on mediation strategies and a settlement proposal,

  all adverse to J&J, in the same litigation. They worked together in secret, and

  Beasley Allen then attempted to conceal its extensive relationship with Conlan from

  J&J and from this Court.

        That course of unscrupulous conduct violated multiple ethical rules. Beasley

  Allen assisted and induced Conlan to disclose J&J’s confidences during their

  collaboration, in violation of Rule 1.6. By collaborating with Conlan in a mediation

  adverse to J&J, Beasley Allen sanctioned conduct that “would be a violation of”

  Rule 1.9(a) “if engaged in by a lawyer,” in violation of Rule 5.3(c). And by covering

  up the collaboration, Beasley Allen violated Rules 3.3(a)(5) and 8.4(c)-(d).

        Boxed in by the factual record and plain text of New Jersey’s rules, Beasley

  Allen has very little cogent to say. It all but ignores the evidentiary hearing that

  revealed the full details of its misconduct. And it makes a hash of the law. Beasley

  Allen argues that it cannot be disqualified unless J&J proves what confidences


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  Conlan shared with the firm (a mischaracterization of Rule 1.6) and that those shared

  confidences were harmful to J&J (a mischaracterization of Rule 1.9(a)). See Beasley

  Allen Brief (“BA Br.”) 22. But J&J is not required to prove a violation of Rule 1.9

  to prevail under Rule 1.6—or vice versa. Rule 1.6 requires proof that confidences

  were shared, not what those specific confidences were. And Rule 1.9(a) does not

  require proof of shared confidences at all.

        What remains of Beasley Allen’s argument is a mischaracterization of J&J’s

  position. It accuses J&J of invoking the now-defunct appearance of impropriety

  standard. But that is not J&J’s argument. Beasley Allen’s conduct was actually

  improper and violated multiple ethics rules.              Those violations require

  disqualification and removal from the PSC.

                                     ARGUMENT

        A.     Beasley Allen Is Responsible For Conlan’s Violations Of Rule 1.6.
        Beasley Allen does not dispute that if Conlan shared J&J’s confidences during

  their secret collaboration, it would be responsible for Conlan’s violation of Rule 1.6.

  See J&J Br. 51-53. Beasley Allen also does not dispute the facts supporting a finding

  that J&J’s confidences were shared. Everyone agrees that Conlan had privileged

  and confidential discussions as J&J’s lawyer on the talc litigation. See id. at 13.

  And everyone agrees that Conlan and Beasley Allen “collaborated on a settlement

  proposal to J&J” in the talc litigation, Dkt. 29999 at 1 n.2; see also J&J Br. 48.


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        Collaboration with an adversary’s former lawyer on a settlement proposal to

  resolve the same claims in the same matter triggers New Jersey’s presumption of

  shared confidences. See J&J Br. 36-37. Powerful circumstantial evidence—coupled

  with the utter implausibility (indeed, falsity) of Conlan’s and Birchfield’s excuses—

  also supports a finding that confidences were shared. Id. at 34-36, 38-39. If this

  Court has any doubts, it must resolve them in J&J’s favor. Id. at 33.

        Beasley Allen responds with two arguments. First, it says that Yuna required

  J&J to identify the “specific confidential information that James Conlan shared with

  Beasley Allen.” BA Br. 20. Second, it says the presumption of shared confidences

  was abrogated by New Jersey’s rejection of the appearance of impropriety standard.

  Id. at 14-15. Both arguments are wrong.

               1.     No authority required J&J to prove the specific confidences that
                      Beasley Allen learned from Conlan.

        Beasley Allen’s primary argument, repeated ad nauseum, is that J&J was

  required to prove through direct evidence—like a witness stand confession—the

  “specific confidential information James Conlan shared with Beasley Allen.” Id. at

  9. But Beasley Allen does not cite a single case interpreting Rule 1.6 that imposes

  this invented legal requirement. Nor, to J&J’s knowledge, does any such case exist,

  for it would squarely conflict with the settled “principle that facts in an ethics-related

  case may be determined through reasonable inferences, as well as by means of



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  circumstantial evidence.” Heritage Pharms., Inc. v. Glazer, 2019 WL 9309180, at

  *2 (D.N.J. Mar. 1, 2019) (quotations omitted); see also J&J Br. 36.

        Beasley Allen purports to derive this rule from O Builders & Associates, Inc.

  v. Yuna Corp. of New Jersey, 206 N.J. 109 (2011), but Yuna has nothing to say about

  the Rule 1.6 violation in this case. J&J already explained this point at length in its

  brief, see J&J Br. 39-42, so we will only summarize it here. Yuna is about “those

  instances” in which the law requires a client to prove the confidences it shared with

  its own lawyer. 206 N.J. at 128-29. Beasley Allen does not dispute that J&J shared

  volumes of confidential information with Conlan. Nor could it. Beasley Allen’s

  counsel attempted to stipulate that fact repeatedly and that evidence is in the record,

  including through admissions by Conlan himself. See J&J Br. 41-42.

        Assuming Yuna had anything to say about Rule 1.6, it would go no further.

  Yuna does not require a party seeking disqualification to prove confidence sharing

  between its former lawyer and adversary. For good reason. The two rules discussed

  in Yuna, 1.9(a) and 1.18, do not require proof of confidence sharing with the other

  side. See 206 N.J. at 120. And Rule 1.6’s text imposes no such requirement either,

  so there is no basis to import Beasley Allen’s erroneous reading of Yuna into Rule

  1.6. Beasley Allen’s argument would also introduce problems of proof. Yuna holds

  that clients are sometimes required to prove what they said to their lawyer. That

  should be easy. But Beasley Allen seeks to extend Yuna to require a party seeking


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disqualification (under an unrelated ethical rule) to prove what third parties said to

each other—something not required by Yuna—in a situation where the firm used the

mediation privilege to keep its communications with Conlan out of J&J’s view.

      Unable to rely on Yuna, Beasley Allen’s defense falls apart. It asserts that

“[a] reasonable inference” is that Conlan did not share J&J’s confidences. BA Br.

20 (emphasis added). But Beasley Allen cites nothing that credibly supports such

an inference and fails to grapple with the inference compelled by the record here—

which is the exact opposite. Conlan had both a motive and opportunity to share

J&J’s confidences. He stood to make millions of dollars from his collaboration only

if J&J accepted the “Legacy/Birchfield proposal,” so he had every reason to share

J&J’s thinking with Beasley Allen to make the offer more attractive to J&J. See J&J

Br. 49. And he obviously had an opportunity: he “and Birchfield collaborated on a

settlement proposal to J&J” in secret. Dkt. 29999 at 1 n.2.

      What happened next is plain from Birchfield’s and Conlan’s testimony.

Beasley Allen shared its work product concerning case values and damages analysis

with Conlan. And they passed drafts of a term sheet back and forth over the course

of multiple weeks, which grew in length with edits. J&J Br. 23-25. It “defies

common sense and human nature” to suggest that they did not discuss whether the

proposal would be acceptable to J&J, when both stood to make significant sums only

if J&J agreed to it, or that Conlan was able to segregate everything he learned from


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J&J in a lockbox in his brain. Cordy v. Sherwin-Williams Co., 156 F.R.D. 575, 584

(D.N.J. 1994); see J&J Br. 34-35. The Court should find, based on the weight of the

evidence, that Conlan shared J&J’s confidences with Beasley Allen. 1

             2.     The presumption of shared confidences applies.
      The Court should separately presume that confidences were shared. See J&J

Br. 36-37. The facts here are far more egregious than cases in which the presumption

has been applied. In Cordy, for instance, the District of New Jersey applied the

presumption when an expert switched sides even though the expert billed for only

“28 hours of work.” 156 F.R.D. at 581, 584. And in Greig, the District of New


1
  Beasley Allen’s argument that J&J did not have a confidential interest in Conlan’s
$19 billion proposal, the attached matrix from plaintiffs’ counsel, and the concept of
structural optimization, BA Br. 16-19, is both wrong and irrelevant. Although
Conlan initially insisted that the proposal was based on the market response to the
Third Circuit’s January 30, 2023 opinion in LTL-1, he later conceded that it needed
to be consistent with and account for estimates of current and future claim values,
4/10 (PM) Tr. 49:15-50:5, information he learned while working for J&J. If J&J’s
talc liabilities exceeded $19 billion, it would make no financial sense for Legacy to
acquire them at that number. And Birchfield similarly conceded that any settlement
matrix would need to be consistent with the overall valuation of current or future
claims to successfully resolve these cases—if the numbers in a settlement matrix,
multiplied by the number of claims, exceed what a settling defendant is willing to
pay in the aggregate, the matrix is useless. 5/3 (PM) Tr. 41:17-42:13. Putting these
admissions together, it is clear that Conlan thought the $19 billion proposal reflected
information he learned from J&J and from Beasley Allen, otherwise the proposal
would not be financially viable for Legacy. In any case, New Jersey’s rules do not
require J&J to pinpoint specific confidences, and the inescapable conclusion from
the evidence here is that in crafting the “Legacy/Birchfield proposal,” Conlan shared
J&J’s case valuations and settlement strategies. Conlan was exposed to that
information, see J&J Br. 14-15, and had every reason to share it, for his and Beasley
Allen’s success required them to offer a figure that J&J would be willing to accept.

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Jersey applied the presumption where the same law firm represented a client’s

former lawyer in a malpractice action and his adversary in the underlying case.

Greig v. Macy’s Ne., Inc., 1 F. Supp. 2d 397, 401-03 & n.4 (D.N.J 1998). Here,

Conlan billed J&J for 1,600 hours of work on its biggest liability and then switched

sides and collaborated with J&J’s adversary for months in secret. That collaboration

included a joint settlement proposal in a mediation adverse to J&J and, when that

failed, an orchestrated public campaign to thwart J&J’s preferred resolution through

bankruptcy. J&J Br. 26-27, 32.

      Beasley Allen does not dispute that Conlan’s conduct would trigger the

presumption—clearly, it would. Instead, the firm contends that the presumption was

abrogated by New Jersey’s rejection of the appearance of impropriety standard. BA

Br. 14-15. But the presumption is not based on the appearance of impropriety, and

New Jersey rejected that doctrine for unrelated reasons.

      Presumptions are a standard tool in the law that “require[] the fact-finder, once

it finds the existence of one fact, to presume the existence of another.” Ahn v. Kim,

145 N.J. 423, 438-39 (1996). They often exist for a “combination of reasons”—e.g.,

because of “difficulties inherent in proving that the more probable event in fact

occurred” and/or because experience has showed “that proof of fact B renders the

inference of the existence of fact A … probable.” 2 McCormick on Evidence § 343

(8th ed. 2022). The presumption of shared confidences exists for both these reasons.


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      It exists in part due to the “inherent difficulty in determining, at some later

time, whether” confidences were shared between third parties, and thus places a

significant burden on the party opposing disqualification to offer more than self-

serving denials. Cordy, 156 F.R.D. at 584; see also, e.g., Shadow Traffic Network

v. Superior Court, 24 Cal. App. 4th 1067, 1085 (1994) (“presumption is a rule by

necessity because the party seeking disqualification will be at a loss to prove what

is known by the adversary’s attorneys and legal staff” (quotations omitted)); Nat’l

Med. Enters. v. Godbey, 924 S.W.2d 123, 131-32 (Tex. 1996).

      The presumption also exists because experience has shown that when parties

enter into a privileged or confidential relationship, they share confidences. For

example, the law presumes “that confidential information has passed between

attorney and former client” when a lawyer switches sides in a substantially related

matter. Reardon v. Marlayne, Inc., 83 N.J. 460, 473 (1980). 2 Similarly, Rule 1.10

imputes disqualification to a lawyer’s firm based on the presumption that

confidences known by “one lawyer in a firm are shared among all firm lawyers.”

Restatement (Third) of the Law Governing Lawyers § 123, reporter’s note to cmt. c;



2
  Reardon’s three-part test “for determining whether an attorney should be
disqualified based on his or her successive representation of adverse interests” was
superseded by Rule 1.9, Dewey v. R.J. Reynolds Tobacco Co., 109 N.J. 201, 212
(1988), but the rest of that decision, including its discussion of the “well settled”
presumption of shared confidences, Restatement (Third) of the Law Governing
Lawyers, supra, § 123, reporter’s note to cmt. c, remains valid.
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see Harper v. Everson, 2016 WL 9149652, at *4 (W.D. Ky. May 5, 2016); Ryan’s

Express v. Amador Stage Lines, 279 P.3d 166, 170 n.2 (Nev. 2012); cf. Dewey, 109

N.J. at 217. And the law presumes shared confidences where (as here) a person in

possession of client confidences realigns on the other side of the litigation—the

inference when someone switches sides is that they will share confidences with the

other side. See Cordy, 156 F.R.D. at 583-84; Greig, 1 F. Supp. 2d at 401-03 & n.4;

see Grant v. Thirteenth Court of Appeals, 888 S.W.2d 466, 467 (Tex. 1994)

(“rebuttable presumption that a nonlawyer who switches sides in ongoing litigation

… will share the information with members of the new firm”).3

      Because the presumption of shared confidences does not depend on the

appearance of impropriety, New Jersey’s rejection of that doctrine casts no doubt on

the presumption. Indeed, New Jersey rejected the appearance of impropriety for

unrelated reasons. In 2004, the Court eliminated that standard because it was “too

vague to support discipline.” In re Sup. Ct. Advisory Comm. on Pro. Ethics Opn.

No. 697, 188 N.J. 549, 562 (2006) (quotations omitted); see BA Br. 9 (“highly

subjective”). But there is nothing vague or subjective about presumptions. They are

a mainstay in New Jersey law, see N.J.R.E. 301, and have been for centuries, e.g.,



3
 See also In re Complex Asbestos Litig., 232 Cal. App. 3d 572, 593 (1991) (similar);
accord De la Cruz v. Virgin Islands Water & Power Auth., 597 F. App’x 83, 89 (3d
Cir. 2014); Grant Heilman Photography, Inc. v. McGraw-Hill Glob. Educ. Holdings,
LLC, 2018 WL 2065060, at *12 & n.9 (E.D. Pa. May 2, 2018) (collecting cases).
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Gulick v. Loder, 13 N.J.L. 68, 72 (1832). The presumption of shared confidences is

no exception. It can be and has been administered objectively, in New Jersey after

the appearance of impropriety standard was rejected, see Murphy v. Simmons, 2008

WL 65174, at *14, 18-19 (D.N.J. Jan. 3, 2008) (noting the appearance of impropriety

has “been eliminated” and applying the presumption of shared confidences), and in

other states that do not have an appearance of impropriety standard.4 Beasley

Allen’s argument that the two are inextricably linked is just wrong.5

      Beasley Allen has not come close to rebutting the presumption. Beasley

Allen’s self-serving denials that it received confidences from Conlan, see BA Br. 6,

15, “are not helpful” given the firm’s massive financial incentives to remain in this

litigation, Cordy, 156 F.R.D. at 584. And those denials proved seriously uncredible

at the plenary hearing. After failing to disclose in his sworn certifications his

collaboration on a settlement proposal with Conlan, Birchfield maintained that

Conlan’s and Legacy’s contribution to the draft term sheet was to fix typos and




4
 See, e.g., Gnaciski v. United Health Care Ins. Co., 623 F. Supp. 3d 959, 967, 971-
72 (E.D. Wisc. 2022); Harper, 2016 WL 9149652, at *4, 8-9; State ex rel. Wal-Mart
Stores, Inc. v. Kortum, 559 N.W.2d 496, 501-02 (Neb. 1997).
5
  Contrary to Beasley Allen’s suggestion, BA Br. 14 n.7, Cordy did not invoke the
presumption of shared confidences because of the appearance of impropriety. And
while it later disqualified counsel on that basis, that is not the basis for J&J’s motion
here because Beasley Allen’s conduct was actually improper in violation of multiple
ethical rules. See infra Part D.
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grammatical errors. See J&J Br. 24-25. That story is as far-fetched as they come,

which likely explains why it was not corroborated by Conlan. Id. 6

      Conlan’s denials were even less persuasive.        Beasley Allen repeats the

ridiculous refrain that Conlan, a self-described expert on restructuring mass-tort

liabilities and CEO of a highly sophisticated business, lacked “all knowledge about

mass tort trial strategy, matrices, claim valuations etc.” BA Br. 4. Not only is that

uncredible, it was refuted by Conlan’s own billing records and correspondence, to

say nothing of the testimony of Haas and Murdica, first-hand witnesses to Conlan’s

work on “matrices, claims valuations, etc.” See J&J Br. 15-18.

      Beasley Allen also defends Conlan’s claim that he “walled off everything,” in

his brain, 4/10 (PM) Tr. 70:12-19, asserting that Murdica was able to do so, see BA

Br. 10. But that mischaracterizes Murdica’s testimony, which does not show that

human beings are capable of perfect compartmentalization. 7 In fact, Murdica said


6
  Besides, Birchfield’s denial is unpersuasive given his acknowledgement in
response to the Court’s questioning that he would not necessarily know if he received
confidences from Conlan. 5/3 Tr. 66:7-67:5 (“[The Court]: You wouldn’t know that.
A: I wouldn’t.”).
7
  Beasley Allen cites Murdica’s testimony that he would not share confidential
information with opposing counsel. 3/25 (PM) Tr. 115:1-117:17. But there is an
obvious difference between negotiating with opposing counsel and collaborating
with counsel on the same side. Id. Attorneys are expected to maintain client
confidences when negotiating with opposing counsel unless, for example, they are
“impliedly authorized” to disclose confidences to “carry out the representation.”
RPC 1.6(a). Screening rules exist because the same is not true when attorneys
associate on the same side. Supra at 12.

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the exact opposite: “that it would be impossible to jump and talk to the other side

and separate in my brain everything that I’ve learned by representing J&J.” 3/25

(PM) Tr. 81:8-13. Indeed, if Beasley Allen were right about compartmentalization,

there would be no need for screening between attorneys—self-screening would do—

and the presumption of shared confidences would be rebutted in every case. The

presumption applies here, and it has not come close to being rebutted.8

      B.    Beasley Allen Is Responsible For Conlan’s Violation Of 1.9(a).
      The Court should also disqualify Beasley Allen because it violated Rule 5.3

by sanctioning Conlan’s participation on plaintiffs’ LTL-2 mediation team.

            1.     Beasley Allen’s association with Conlan violates Rule 5.3.
      Beasley Allen admits that Conlan worked with the firm on the talc litigation.

See J&J Br. 52. Beasley Allen admits that it approved of Conlan’s work. J&J Br.

20, 50-51. And Beasley Allen admits that it could not have hired Conlan to work on

the talc litigation. 1/17 MCL Hr’g Tr. 47:14-22; 5/3 Tr. 64:1-18; see also 4/10 (AM)

Tr. 100:19-101:1. That amounts to an admission that Beasley Allen violated Rule

5.3. It “associated” itself with Conlan, RPC 5.3, working hand-in-hand on mediation




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  Beasley Allen also cites Conlan’s November 5 email denying that he did not
possess any “confidential insights or knowledge that are relevant to Legacy.” BA
Br. 7. That is neither true nor relevant. It does not matter here whether the
information Conlan learned was relevant to Legacy’s proposal. The information—
claim values, settlement tactics, etc.—was highly relevant to Beasley Allen, and the
law presumes he shared those confidences with the firm.
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strategies and a settlement proposal they both wanted. J&J Br. 47-50. Conlan’s

participation on plaintiffs’ mediation team would have violated Rule 1.9(a) if he had

been a practicing lawyer. RPC 5.3(c); see J&J Br. 50-51. And Beasley Allen

“ratifie[d],” RPC 5.3(c)(1), Conlan’s participation on the plaintiffs’ side of the

mediation.

      Although Beasley Allen recognizes that its conduct implicated Rule 5.3, see

BA Br. 13, it never squarely addresses the Rule’s requirements. Instead, it claims to

have found a gaping loophole. In its view, it cannot be disqualified for collaborating

with J&J’s former lawyer on a settlement proposal in a mediation adverse to J&J

because Conlan was never technically employed by the firm and had stopped

practicing law. The firm’s position is antithetical to New Jersey’s ethical rules, and

contradicts its own admission that it could not “bypass[] the rules” by doing “through

the back door what [it] can’t do through the front.” 2/7 MDL Hr’g Tr. 41:8-18.

      Unsurprisingly, the Beasley Allen loophole does not exist. Contrary to the

firm’s argument that it cannot be disqualified because Conlan was not “an attorney

or employee at Beasley Allen,” BA Br. 14, an employment relationship is not

required to trigger Rule 5.3. The Rule applies to nonlawyers “employed or retained

by or associated with a firm,” RPC 5.3 (emphasis added), and Conlan’s and Beasley

Allen’s collaboration on a settlement proposal is the definition of an “association,”

see J&J Br. 47-50. Nor does it matter that Conlan was not acting “as a lawyer” when


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working on the opposite side from J&J. BA Br. 13-14. By its terms, Rule 5.3 applies

to “nonlawyers” who (unless they are engaged in the unauthorized practice of law)

will never be acting as a lawyer. What matters is whether the nonlawyer’s conduct

“would be a violation of the Rules of Professional Conduct if engaged in by a

lawyer,” RPC 5.3(c), and Beasley Allen correctly conceded Conlan’s participation

on plaintiffs’ mediation team would violate the rules when it admitted it could not

have hired Conlan to work on the talc litigation. Supra at 12.9

             2.     Conlan’s conduct would have been a violation of Rule 1.9(a) if
                    engaged in by a lawyer.
      Despite admitting that it could not hire Conlan because of Rule 1.9(a), see

1/17 MCL Hr’g Tr. 47:14-22, Beasley Allen asserts that Conlan’s participation on

the plaintiffs’ side in the LTL-2 mediation could not have violated that rule because

the matters Conlan worked on—namely, the talc litigation—are not substantially

related. See BA Br. 22-28. But there is no reason to ask whether the talc litigation

is substantially related to the talc litigation because it is the same matter. RPC 1.9(a).

      a. The talc litigation is the “same matter” as the talc litigation. When Conlan

worked for J&J, he worked on the talc litigation—his entire job was to help J&J

resolve the claims asserted in these MDL and MCL proceedings. When Conlan



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  The Court need not conduct a similar analysis under Rule 1.10 because Beasley
Allen’s conduct is squarely prohibited by Rule 5.3. If the Court does reach Rule
1.10, it should find a violation for similar reasons. See J&J Br. 52-53.

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collaborated with Beasley Allen, he worked on the talc litigation—his entire focus

was on achieving a negotiated resolution to the claims asserted in this MDL and

MCL. No wonder Beasley Allen does not address Rule 1.9(a)’s same matter inquiry:

it is definitionally true that Conlan worked on both sides of the same matter.

      Previously, Beasley Allen suggested that Conlan did not work on both sides

of the same matter because he focused on bankruptcy issues, whereas there is no

bankruptcy case currently pending (even though the LTL-2 dismissal is on appeal).

Beasley Allen does not repeat that argument in its brief, and it is a non-starter for the

reasons already set out: Conlan represented J&J inside and outside bankruptcy; he

worked with plaintiffs inside and outside of bankruptcy; and the bankruptcies were

in any event merely “subcomponent[] part[s]” of the same overall matter attempting

to resolve the same claims, 4/10 (AM) Tr. 135:12-24. See J&J Br. 44. No matter

how you slice it, Conlan worked on both sides of the same matter.

      That renders several of Beasley Allen’s arguments irrelevant. “[B]ecause

disqualification, if the matter is indeed the same, does not turn on the identification

of any particular confidence having been revealed,” Twenty-First Cent. Rail Corp.

v. N.J. Transit Corp., 210 N.J. 264, 278 (2012), it is irrelevant whether Conlan

possessed confidential information that could be harmful to J&J (he did), and doubly

irrelevant whether he “shared … harmful privileged information with Beasley

Allen,” BA Br. 22 (he did). It is also irrelevant whether Conlan “put J&J on notice


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that Legacy would negotiate settlements with plaintiff law firms.” BA Br. 6. J&J’s

non-response to his emailed proposal is not “informed consent confirmed in writing”

sufficient to waive the conflict. RPC 1.9(a) (emphasis added). Beasley Allen’s

willingness to adopt another of Conlan’s profoundly unserious arguments is telling.

      b. The talc litigation is “substantially related” to the talc litigation. Beasley

Allen begins by misstating the “substantially related” inquiry. Instead of asking

whether Conlan possessed confidential information that could be harmful to J&J,

Beasley Allen claims there is no evidence that “Conlan shared any relevant or

significantly harmful privileged information” with the firm. BA Br. 22 (emphasis

added). But sharing information with opposing counsel is not part of the inquiry

under Rule 1.9(a). The Rule prohibits side-switching, full stop.

      Beasley Allen again relies on Yuna.          To repeat:      Yuna is about the

circumstances when a client must prove that it shared confidences with its former

lawyer (here, from J&J to Conlan). Yuna does not require the client to prove that its

former lawyer then shared confidences with the other side (here, from Conlan to

Beasley Allen). Just compare Beasley Allen’s paraphrase of Yuna, see BA Br. 22,

with the language used by the Supreme Court: Under Yuna, the inquiry focuses on

“the information the [former] lawyer received” from the client, 206 N.J. at 113-14

(emphasis added), not information shared by the former lawyer with the other side.




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      Beasley Allen separately claims the talc litigation is not substantially related

to the talc litigation because a lot has “changed in the two years since James Conlan

left Faegre.” BA Br. 26. But that’s not even the right timeframe. Conlan violated

Rule 1.9(a) in Spring 2023, when he and Beasley Allen collaborated on the LTL-2

bankruptcy mediation. See J&J Br. 20. And not even Beasley Allen argues that the

talc litigation changed between Spring 2023 (when LTL-2 was pending) and when

Conlan left J&J in 2022 (when LTL-1 was pending). See id. at 19.

      Nor is the talc litigation significantly different today. See id. at 30-32.

Beasley Allen asserts that “the total number of claims and various factors affecting

reasonable settlement values” have changed, BA Br. 26, but J&J has always

accounted for the number and value of future claims, and Conlan was exposed to

that information—in fact, he negotiated directly with future claimants’ counsel in an

effort to settle J&J’s talc liabilities through the Imerys bankruptcy. See J&J Br. 11-

12, 14.    He was also exposed to J&J’s per-claim valuations and strategic

considerations that have nothing to do with “settlement values,” including J&J’s

negotiating strategy. Id. The information Conlan obtained “is as important now as

it was then.” 3/25 (PM) Tr. 58:23-59:4; see J&J Br. 31-32.

      Beasley Allen also argues that it knows (and knew during mediation) as much

about J&J’s legal and settlement strategy, BA Br. 25-26, as a lawyer who billed J&J

for 1,600 hours of work and spoke regularly with the highest echelons of J&J’s Law


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Department. That is absurd. See Reardon, 83 N.J. at 476. If Beasley Allen’s

argument were adopted, it would mean that lawyers could freely switch sides toward

the end of related cases—on Beasley Allen’s logic, each side would know the other’s

position so confidential information would no longer be materially harmful.

      Beasley Allen relies on City of Atlantic City v. Trupos, 201 N.J. 447, 469

(2010), but that case is worlds apart. There, a law firm represented Atlantic City in

tax appeals in 2006 and 2007 and later represented taxpayers in unrelated tax appeals

in 2009.    The City’s “sole complaint” stemmed from the fact that the firm

“participated, on a non-voting basis, in the selection of the revaluation company that

produced the assessments subject to the 2009 tax appeals.” Id. at 468. But “the sole

point discussed was the selection of the real estate revaluation company; no

discussion of valuation methodology or other substantive matters was held,” and the

appraiser used by the City in 2006 and 2007 was different than the one “whose

appraisals were being challenged by the law firm in … 2009.” Id. The matters were

not substantially related because the firm was not privy to information that could

have been “used against [the City] in the 2009 tax appeals.” Id. at 468-69.

      That is not true of Conlan, who was privy to substantial information that could

have been used against J&J in the LTL-2 mediation and still could be today. Nor

does the dismissal of the LTL-2 bankruptcy represent a “clean break” in the talc

litigation, as Beasley Allen suggests. BA Br. 26. For one thing, Conlan worked on


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the LTL-1 bankruptcy for J&J and the LTL-2 bankruptcy with plaintiffs, so it does

not matter whether a bankruptcy case is currently pending. See J&J Br. 12, 20. For

another, bankruptcy is simply a subcomponent part of the talc litigation, not new,

unrelated litigations, as in Trupos. Id. at 44. Most important, the absence of a

pending bankruptcy case does not detract from the fact that Conlan received

confidential information from J&J that could have been used against it in LTL-2

mediation and today. See Trupos, 210 N.J. at 470.

      C.     Beasley Allen Independently Violated The Rules.
      Beasley Allen should also be disqualified for its own rules violations. It

attempted to cover up its collaboration with Conlan to avoid disqualification. RPCs

3.3(a)(5) & 8.4(c). Birchfield’s initial certification omitted any mention of his

extensive relationship with Conlan and his second mentioned only his first contacts.

“[T]here were,” in Birchfield’s own words, “a lot of things that [he] did not mention

in [his] certification,” 4/10 (PM) Tr. 102:21-22, including facts directly relevant to

disqualification like his extensive relationship with Conlan and their collaboration

on a proposal in mediation adverse to J&J. See J&J Br. 54-58. The firm’s conduct

has also been prejudicial to the administration of justice. RPC 8.4(d). This includes

not only Beasley Allen’s attempt to impede this Court’s truth-seeking function, but

also its embrace of J&J’s former lawyer on plaintiffs’ mediation team,

notwithstanding the firm’s acknowledgement that a formal relationship with Conlan


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would have been improper, supra at 12, and that New Jersey’s ethics rules do not

exalt form over substance, J&J Br. 57-58.

      D.    Beasley Allen’s Conduct Was Actually Improper.

      J&J’s arguments for disqualification are not based on the appearance of

impropriety. In fact, one of Beasley Allen’s main criticisms of J&J’s argument at

the January 17, 2024 MCL hearing was that J&J’s counsel “did not even mention

the words, [a]ppearance of impropriety.” 1/17 MCL Tr. 24:7-8. Yet Beasley Allen

persists in mischaracterizing J&J’s arguments as invoking the appearance of

impropriety standard for disqualification. See BA Br. 8-13.

      This time, Beasley Allen asserts that facts showing that Conlan’s

communications during his “alliance” with Beasley Allen were “necessarily

imbued” with J&J’s confidential information represent a rebranding of the

appearance of impropriety standard “unmoored from the RPCs.” Id. at 8. Not so.

The fact that Conlan’s collaboration with Beasley Allen was “necessarily imbued”

with J&J’s client confidences goes to Rule 1.6. See J&J Br. 34-35. And it should

not be controversial: Human beings cannot cleanly segregate related information in

their minds. For this reason, Haas explained, it would have been impossible for

Conlan to collaborate with Beasley Allen on a settlement proposal to J&J without

disclosing J&J’s confidences. That point is corroborated by case law and “common

sense.” Cordy, 156 F.R.D. at 584; see also, e.g., Murphy, 2008 WL 65174, at *16;


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Shadow Traffic, 24 Cal. App. 4th at 1086. That Beasley Allen entered into an

“alliance” (or as Judge Schneider put it, a “collaboration”) with Conlan is just a

factual description of their relationship—a description that supports multiple rules

violations. The collaboration made it possible for Conlan to share confidences in

violation of Rule 1.6. It included Beasley Allen’s ratification of Conlan’s work on

both sides of the talc litigation, in violation of Rules 5.3 and 1.9(a), and was

prejudicial to the administration of justice, in violation of Rule 8.4(d).

      Beasley Allen’s hyperbole about a “sea-change in attorney ethics,” BA Br. 9,

can thus be rejected out of hand. The evidence it cites substantiates specific rules

violations. What would constitute a sea change, though, is a rule that side-switching

is permissible so long as the person switching sides has left the practice of law or

not been formally retained. Not only would that negate specific ethics rules (like

5.3), but it would repudiate the “established” principle “that an attorney may not do

indirectly that which is prohibited directly.” N.J. Ethics Op. No. 680, 1995 WL

33971, at *3 (1995).

      That leaves a host of meritless procedural and evidentiary gripes, most of

which the Court has already rejected. See BA Br. 15 n.8 (Confrontation and Due

Process Clauses), 22 (Best Evidence Rule). Only one merits a response. Beasley

Allen asserts that “J&J has shifted its … theory” by citing more ethical rules. Id. at

11 n.4. There is no shift. J&J’s theory has always been the same: New Jersey ethics


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law prohibited Beasley Allen from aligning itself in this litigation with J&J’s former

lawyer. J&J’s citation of more rules merely reflects the changing record in this case.

      When J&J filed its briefs in December 2023, it did not know the full extent of

Beasley Allen’s engagement with Conlan, which is why it initially asked for a show-

cause order requiring the firm to explain its alliance with Conlan. J&J could not, for

example, have argued that Beasley Allen’s collaboration on a mediation proposal

with Conlan violated Rules 5.3 and 1.9(a) because Beasley Allen was still hiding

that fact. It should come as no surprise that, as the full extent of Beasley Allen’s

misconduct has come to light, more rules violations have been exposed.10

      E.     Beasley Allen Should Be Removed From The PSC.
      Beasley Allen does not address J&J’s argument that, at a minimum, the firm’s

multiple ethical lapses warrant removal form the PSC. Just the opposite. The firm

admits that when it shared privileged and confidential information with Conlan

during the LTL-2 mediation, it “understood that James Conlan would be its

adversary … if J&J accepted the” Legacy/Birchfield proposal. BA Br. 5. That is

irrelevant to Beasley Allen’s facilitation of Conlan’s betrayal of his former client,

J&J. But it is highly relevant to Beasley Allen’s betrayal of its current clients, the


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   United States v. Voigt, 89 F.3d 1050, 1076 n.12 (3d Cir. 1996), held that
disqualification need not be “predicated on a finding of a specific RPC violation.”
Beasley Allen claims (BA Br. 13 n.6) that holding was tied to the appearance of
impropriety, but the two are unrelated. Voigt remains good law. See Shaikh v.
Germandig, 2022 WL 16716116, at *3 (D.N.J. Nov. 4, 2022).

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plaintiffs in the talc litigation. Beasley Allen admits that it knowingly shared

confidential information with someone who would be its clients’ adversary if

everything went to plan. That damning admission warrants removal from the PSC.

      More pressingly here, Beasley Allen’s secret collaboration with J&J’s former

lawyer and joint efforts to thwart J&J’s preferred resolution of this matter through

bankruptcy has poisoned its ability to lead this case. New Jersey does not permit

side switching, and Beasley Allen knows that. And its repeated efforts to conceal

that collaboration from J&J and this Court amount to no less than a breach of trust.

                                 CONCLUSION

      This Court should disqualify Beasley Allen and remove it from the PSC.



Dated: May 24, 2024                    Respectfully submitted,

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